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The motion is granted. The motion to dismiss for lack ofjurisdiction hled by Defendant CVS Hea|th Corporation on June 8, 2018
(ECF No. 590) is hereby rendered moot.

 

'T 'S 30 ORDERED- UNITED sTATEs DISTRICT CoURT
s/ D¢wz¢ ,4. 252 NoRTHERN DISTRICT oF oHIo
U.S. Magistrate Judge EASTERN DIVISION
7/16/2018
IN RE: NATIONAL PRESCRIPTION MDL No. 2804
oPrATE LITIGATION

Case No. 1:17-md-2804

THIS DOCUMENT RELATES TO:
Cozmty of Monroe v. Purdue Judge Dan Aaron Polster
Pharma L.P., et al.,
Case No. l 8-0p-45 1 5 8

 

 

UNOPPOSED MOTION TO DISMISS CVS HEALTH CORPORATION AND ADD
CVS INDIANA. L.L.C. AS DEFENDANT

Pursuant to Federal Rule of Civil Procedure 21, Plaintiff in the above-captioned case
hereby moves to dismiss Defendant CVS Health CoIporation (“CVS Health”) from the case
Without prejudice and to add CVS lndiana, L.L.C. (“CVS lndiana”) as a Defendant in this case.
CVS Health does not oppose the motion.

On June 8, 2018, CVS Health moved to dismiss the complaint in the above-captioned
case for lack of personal jurisdiction under Federal Rule of Civil Procedure 12(b)(2). If this
motion pursuant to Rule 21 to dismiss CVS Health is granted, the motion to dismiss for lack of
personal jurisdiction Will be moot.

This motion and the addition of CVS lndiana to this case is Without prejudice to any
defenses, counterclaims, cross-claims, arguments, or other legal positions available to CVS

lndiana as a Defendant in the case.

